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                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE

 REBECCA STONEBRAKER,                    ) Case No.: 1:11-cv-00057-GMS
                                         )
              Plaintiff,                 )
       v.                                )
                                         ) (Unlawful Debt Collection Practices)
                                         )
 BYRON & DAVIS, C.C.C.C., INC,           )
          Defendant.                     )
                                         )
                                         )

                      NOTICE OF VOLUNTARY DISMISSAL

 TO THE CLERK:

       NOTICE IS HEREBY GIVEN that the above-captioned case has been

 DISMISSED with prejudice.



 _/s/ W. Christopher Componovo _______
 W. Christopher Componovo, Esquire
 Attorney ID: 3234
 Kimmel & Silverman, PC
 501 Silverside Road, Suite 118
 Wilmington, DE 19809
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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 7th day of April 2011, that a copy of the

 aforegoing Notice of Voluntary Dismissal was e-filed and sent by e-mail to:

                                  John X. Denney, Esq.
                              Mattleman, Weinroth & Miller
                              200 Continental Dr., Ste. 215
                                   Newark, DE 19713
                                jdenney@mwm-law.com

                                             _/s/ W. Christopher Componovo _______
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                                             Attorney ID: 3234
                                             Kimmel & Silverman, PC
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                                             Wilmington, DE 19809
